      Case 2:08-cr-00140-ILRL-SS        Document 463       Filed 08/27/10     Page 1 of 5



                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                   CRIMINAL ACTION
VERSUS                                                     NO. 08-140

MOSE JEFFERSON                                         SECTION "B” (1)
RENEE GILL PRATT

                                   ORDER AND REASONS

        Before the Court is Renee Gill Pratt’s Motion to Dismiss Count

One for Lack of Subject Matter Jurisdiction and for Failure to State

a Crime. (Rec. Doc. No. 411).               The Motion is opposed.               (Rec. Doc.

No. 417).     Considering the pleadings, applicable law, oral argument

of the parties, oral reasons given at prior hearings, and for the

reasons that follow, Defendant’s Motion to Dismiss is DENIED.

        On March 5, 2010, the grand jury returned a five count Third

Superseding Indictment against Defendants Mose Jefferson and Renee

Gill    Pratt    alleging    that       Defendants         conspired    to     violate      the

Racketeer Influenced and Corrupt Organizations Act (“RICO”) in

violation       of   18   U.S.C.    §    1962(d),      specifically          alleging       that

Defendants through their various non-profit and for-profit entities

and    political     positions      engaged      in    a    pattern     of    racketeering

activity for the primary purpose of exercising and preserving power

over and within the government of the State of Louisiana, the City

of New Orleans, Orleans Parish, and elsewhere, for the financial and

political benefits of defendants.


                                             1
   Case 2:08-cr-00140-ILRL-SS   Document 463   Filed 08/27/10   Page 2 of 5



     The Third Superseding Indictment charges Renee Gill Pratt with

Count 1 only, the RICO conspiracy.             In addition to the RICO

conspiracy, Mose Jefferson is charged with mail fraud (18 U.S.C. §

1341, 1346) in Counts 2 & 3, and making false statements (18 U.S.C.

§ 1001) in Counts 4 & 5.

     A.   Effect on Interstate Commerce

     Defendant Pratt argues the actions forming the predicate of the

RICO charge, as they concern Ms. Pratt, relate solely to intrastate

activity that fails to provide a sufficient jurisdictional nexus

over that charge. Specifically, Defendant contends that Count 1

essentially claims that Ms. Gill-Pratt utilized her influence and

voting power as a Louisiana state legislator and subsequently as a

Council member to obtain appropriations for grants that went to non-

profit entities controlled by Mose Jefferson and his relatives. Any

votes cast by her in favor of that appropriation would have been

done on the floor of the Louisiana State House of Representatives

or the New Orleans City Council.         The Third Superseding Indictment

does not allege that the she personally traveled in interstate

commerce for the purpose of facilitating the conspiracy.

     Defendant cites U.S. v. Diecidue, for the proposition that the

Government must state the basis upon which effect on interstate

commerce is alleged.     603 F.2d 535, 537 (5th Cir. 1979).

      Federal Rule of Criminal Procedure 7 governs the nature and

contents of an indictment.      That rule states that “[t}he indictment

                                     2
   Case 2:08-cr-00140-ILRL-SS    Document 463   Filed 08/27/10   Page 3 of 5



or information must be a plain, concise, and definite written

statement of the essential facts constituting the offense charged.”

“An indictment, to be sufficient, must allege that the defendant

committed each of the essential elements of the crime charged so as

to enable the accused to prepare his defense and to invoke the

double jeopardy clause in any subsequent prosecution for the same

offense.”    The Government argues that it has met this burden.

     Specifically,     the     Government   argues   that   in   the    charging

language of part D, page 13, the Grand Jury expressly found that the

Enterprise, as described in Parts A through C, was one “engaged in,

and the activities of which affected, interstate commerce...” (Rec.

Doc. No. 386, p. 13).

     In analyzing Diecidue’s argument that the indictment in his

case insufficiently informed him of the enterprise’s effect on

interstate commerce, the Fifth Circuit considered “[t]he distinction

... between a defendant’s constitutional right to know what offense

he is charged with and his need to know the evidentiary details

which will be used to establish his commission of that offense.”

United States v. Diecidue, 603 F.2d 535, 547 (5 Cir. 1979).                    The

Fifth Circuit found that the indictment charged interstate commerce

effect in the RICO conspiracy and substantive offenses in the

language    of   the   statute    itself,   a   practice    which      generally

guarantees sufficiency if all required elements are included in the

statutory language.      Id.

                                       3
      Case 2:08-cr-00140-ILRL-SS    Document 463    Filed 08/27/10   Page 4 of 5



        The   Third    Superseding     Indictment       details   that    money    and

property flowed through channels and utilized the instrumentalities

of interstate commerce, e.g. through banking institutions, purchase

of materials and goods, and vehicles manufactured out of state. The

Third Superseding Indictment sufficiently notifies Defendant with

the    manner    and   type   of    evidence     that   constitutes      effects   on

interstate commerce.

        B.    Failure to State a Crime

        The Indictment states that the funds involved “were derived

from the State of Louisiana General Fund, money designated by the

Governor’s Office of Urban Affairs, money received by the Louisiana

Stadium and Exposition District, and other sources.” (Rec. Doc. No.

386 at paragraph (1)(a)).           Without involvement of federal funds, or

allegation that she received financial consideration from or was

engaged in a quid pro quo arrangement with Mose Jefferson to secure

her vote, Defendant argues for dismissal.                She points out that the

only acts charged against her are that she voted for appropriations

and rented legislative satellite office space in a manner that

benefitted      the    alleged     conspiracy.    She    argues   those    acts    all

involved local matters over which a degree of legislative lobbying

and discretion existed, and do not constitute predicate acts for

a RICO prosecution.

        The alleged federal crimes that form the basis of the RICO

offense are mail fraud (Section 1341), and money laundering (Section

                                          4
     Case 2:08-cr-00140-ILRL-SS   Document 463     Filed 08/27/10   Page 5 of 5



1956).     Defendant is charged with being a co-conspirator with what

amounts to multiple related mail fraud and money laundering schemes,

the combination of said schemes resulting in an alleged violation

of 18 U.S.C. section 1962(d).

By allegedly agreeing to illegal misuse of her political offices in

the broader contexts of a long-lasting intricate, and highly evolved

RICO enterprise involving numerous indictable acts of mail fraud and

money laundering, her motion fails and the indictment survives

summary dismissal.

       There is no obligation to allege or prove that a defendant

actually received any personal benefit as a result of their role in

a conspiracy.      As with any other type of conspiracy, the agreement

is   the   key   component   of   a   RICO    conspiracy.    United    States     v.

Diecidue, 603 F.2d 535, 547 (5 Cir. 1979).                The government bears

the burden of proving beyond a reasonable doubt that the alleged

RICO Enterprise had as its ultimate goal the personal financial and

political benefit of the charged defendants. Throughout the Third

Superseding Indictment the grand jury alleged various benefits. See

Rec. Doc. 386 at 20, 21, 24, 25, 31, 33.

New Orleans, Louisiana, this 25th            day of August, 2010.




                                             ________________________________
                                              UNITED STATES DISTRICT JUDGE



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